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                             UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA


 SYLVIA E. FARRINGTON,

                        Plaintiff,

                        v.
                                                    Civil Action No. 21-3240 (BAH)
 ALEJANDRO MAYORKAS,
                                                    Chief Judge Beryl A. Howell
 Secretary of Homeland Security,

                        Defendant.




                                              ORDER

       Upon consideration of defendant’s Motion to Dismiss, ECF No. 19, the legal memoranda

in support and in opposition, and the exhibits attached thereto, and the entire record herein, for the

reasons set forth in the accompanying Memorandum Opinion, it is hereby

       ORDERED that defendant’s Motion to Dismiss, ECF No. 19, is GRANTED; it is further

       ORDERED that the plaintiff’s complaint is dismissed without prejudice; and it is further

       ORDERED that the Clerk of the Court is directed to close this case.

       SO ORDERED.

       Date: November 9, 2022

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                                                      BERYL A. HOWELL
                                                      CHIEF JUDGE
